         Case 1:22-cr-00007-LKG Document 107 Filed 09/09/22 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: September 9, 2022
         Defendant.                            )
                                               )

                                             ORDER
        The Court will hold a pre-trial hearing in the above-captioned criminal matter on
defendant’s motion to dismiss Counts 1 and 3 of the Superseding Indictment on September 14,
2022.

        The parties shall adhere to the following time allotments for the presentation of their oral
arguments:

        1. Defendant’s opening argument: 25 minutes

        2. Government’s response: 25 minutes

        3. Defendant’s rebuttal, if any: 15 minutes



        IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
